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                              EXHIBIT 3

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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 1                 UNITED STATES DISTRICT COURT
 2                EASTERN DISTRICT OF LOUISIANA
 3
 4
      IN RE: OIL SPILL                       MDL NO. 2179
 5    BY THE OIL RIG
      "DEEPWATER HORIZON"                    SECTION:      J
 6    IN THE GULF OF
      MEXICO, ON                             JUDGE BARBIER
 7    APRIL 20, 2010                         MAG. JUDGE SHUSHAN
 8
 9
10




15
16
17                               VOLUME 1
18
19                 Deposition of MARK ROBERT BLY, 501
20    Westlake Park Boulevard, Houston, Texas
21    77210, taken in the Pan American Life
22    Center, Louisiana 70130, reported on
23    Thursday, February 17th,               2011.
24
25


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 1    witnesses, are properly explained the facts
 2    in a way that the fact finder can understand.
 3    So, again, whether it's my ignorance or
 4    whether I just need to fill out the record
 5    here, if you will bear with me, I would sure
 6    appreciate it.
 7             A.        Absolutely.
 8             Q.        Can we deal on that level?
 9             A.        Yeah.
10             Q.        Great.     You've heard a lot of
11    leading questions, I'm going to give you an
12    open one.       Can you explain to me that diagram
13    in your own words, what does it purport to
14    do?    And I'm talking about that diagram on
15    Page 32 of the Bly report, Exhibit 1.
16             A.        It purports to, in a structured
17    way, describe the barriers that were meant to
18    be in place or that would normally be in
19    place to prevent hydrocarbons in the
20    reservoir getting out and causing a fire.
21                  And the analysis is to say, well,
22    these are the barriers that failed or were
23    penetrated.        And the fact that eight of them
24    failed was what allowed the accident to go
25    from the very initiation all the way to the

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 1    end.
 2             Q.        Thank you very much.             Good
 3    explanation.        Let's stay with this for a
 4    little bit and see if I can kind of
 5    understand a little better my own
 6    understanding.         If I understand what this
 7    diagram tries to do, or what it says, is that
 8    you've got eight causes that work together in
 9    sequence to allow the event to happen.                     So
10    far so good?
11             A.        I think that's fair.             I don't
12    know if each one is an individual cause.
13    They definitely happened together and
14    sequentially.
15             Q.        Got it.      That's a good point.
16    In fact, working from left to right on that
17    diagram -- by the way, it's called Figure 1
18    of the BP internal investigation.                   Working
19    from left to right, that is, in fact, the
20    chronological sequence of those events, is it
21    not?
22             A.        Yes.
23             Q.        So if --
24             A.        You have to be careful because
25    if you look at any particular thing on here,

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 1    that's the chronological sequence of how they
 2    came together in this accident.
 3                  There may be different timelines
 4    associated with -- you know, the press
 5    understanding one of them.               The blowout
 6    prevention equipment, it didn't close, it
 7    could have been to do with maintenance that
 8    wasn't done six months prior to the
 9    accident.
10             Q.        Got you.
11             A.        So you have to be thoughtful
12    about how you --
13             Q.        Excellent point.          I appreciate
14    the clarification.           By the way, following up,
15    something Mr. Sterbcow told you earlier, if
16    you don't understand one of my questions, I'm
17    not going to be insulted if you don't -- tell
18    me you don't get it.            If you want me to
19    clarify, feel free to do so.                I want you to
20    understand the question.              And oftentimes if
21    you don't, it's my bad question, not your
22    understanding.         Okay?
23                  So in terms of this diagram, if
24    I -- let's work a little more, we have at
25    least as it's diagrammed here, eight

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 1    same, yeah.
 2             Q.        Now, let's go back to our
 3    overview.       If I understand the intent of this
 4    diagram is that all the holes line up in
 5    sequence to allow that causation chain to
 6    shoot through all eight elements of
 7    causation, the cement, pressure testing, all
 8    the way through BOP; correct?
 9             A.        Yeah, that's -- what it says is
10    that all of these things had to -- barriers
11    had to be penetrated to get to the end of
12    them.
13             Q.        So let's just take one at
14    random, let's take the negative pressure
15    test.     If we take the negative pressure test
16    as it's depicted there all in line so the
17    causation line can go through it, if we take
18    that and move it up so the causation line now
19    hits a solid portion of that block, and
20    assuming that they took proper remedial
21    action, even if the cement had failed, even
22    if the flow collar and shoe track had failed,
23    if the negative pressure test hadn't been
24    conducted correctly, interpreted correctly
25    and proper remedial action taken, whatever

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 1    that might entail, then the accident wouldn't
 2    have occurred; correct?
 3             A.        Well, I think that that's a very
 4    definitive statement.            What we -- what I
 5    would prefer to say is what we said in here,
 6    is if any of the critical factors had been
 7    eliminated, the events could have been either
 8    prevented or reduced in severity. That's what
 9    I would feel comfortable in saying.
10             Q.        I'm comfortable with that.
11    Thank you.
12                  Actually, let's clarify one thing
13    to make sure that we're on the same page.
14    The last one, BOP emergency operation having
15    occurred after the fire and explosion, if I
16    understand the intent there is that you
17    would have had the fire and explosion,
18    possibly or very likely the personal injury
19    and death, but had the BOP functioned
20    afterwards, at least the oil spill might
21    have been minimized; correct?
22             A.        Yeah, I don't know if the first
23    statement you made was the intent.                  But this
24    was -- the reason this is separated was one
25    of the factors that we believe happened was

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 1    once the explosion and fire occurred that
 2    played a role in one of -- at least one of
 3    the emergency functions of the BOP being
 4    inoperable.        It's written up in here.              It
 5    appears that the control cables that were
 6    required to make the EES work may have been
 7    damaged in the explosion.              So you start to
 8    have interrelationships between the factors,
 9    is the point.         If that makes sense.
10             Q.        It does.      Before we move away
11    from this, we're about to see if we are
12    reading each other on the same page here.
13    This Figure 1 on Page 32 of the BP report, it
14    indicates that the DEEPWATER HORIZON tragedy
15    wasn't based on the failure of only one of
16    the barriers listed, but it was based on an
17    accumulation of actions, a chain of actions
18    and events, if you will, that taken together
19    contributed to the blowout, fire and
20    resulting oil spill?
21             A.        Yeah.     I think you have to say
22    not actions only, but there is equipment
23    involved and, you know, there's cement that
24    failed, you know, there was things that --
25    some of it was action, some of it was

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 1    mechanical failure, some of it was decisions
 2    made.     But in aggregate, multiple things had
 3    to happen to get from the beginning to the
 4    end.
 5             Q.        So all of those things --
 6    actions, decisions, failures of equipment,
 7    possibly failures to maintain equipment --
 8    all of those things taken together, and you
 9    might have even mentioned a few other things
10    in your clarification, all of those things
11    taken, the accumulation of those actions,
12    decisions, events, equipment failures, all of
13    them taken together totaled up, accumulated
14    together, allowed the DEEPWATER HORIZON
15    tragedy to occur.
16             A.        They did not prevent it from
17    occurring, if that's saying the same thing.
18    If you conceptualize these barriers as
19    preventions or protective measures, and
20    getting through them means they did not
21    prevent it from happening in aggregate.
22             Q.        In aggregate?
23             A.        Yeah.
24             Q.        So it wasn't just one of those
25    barriers failing, it was the accumulation of

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 1    those barriers, and to add what you
 2    mentioned, other decisions, equipment
 3    failures, all of those things added together,
 4    again to use your phraseology, allowed the
 5    tragedy to occur.           I would prefer causation,
 6    but I'm happy with --
 7             A.        Failed to effectively prevent
 8    each stage, that's sort of the concept here.
 9    Each one of these, if they work, would
10    prevent, you know, the next step in the
11    sequence of the accident, so each one that
12    gets through it, it gets closer to the end
13    of it.
14             Q.        Thank you very much.              I'm not
15    done.      Mr. Godfrey got all excited there.
16            MR. GODFREY:
17                   At my age, no.
18    EXAMINATION BY MR. UNDERHILL:
19             Q.        Let's spend some time going
20    through those different elements, if we
21    could, and, again, on this one, I invite you
22    to refer to your report any time.                    And I've
23    got -- you've noted in the -- I think I gave
24    you my exhibit book.             I'm going to refer to
25    some stuff that's not in there.                  If you keep

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